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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION
 UNITED STATES OF AMERICA,


 v.         CASE NO. 8:12-CR-205-T-17MAP

 ANGEL VILLANEUVA, et al.

                                    /


                                         ORDER


       This cause is before the Court on:

       Dkt. 474      Joint Motion in Limine to Exclude Rap Videos and Lyrics
       Dkt. 475      Joint Motion for Hearing on Joint Motion in Limine to Exclude Rap
                     Videos and Lyrics
       Dkt. 481      Supplemental Motion in Limine to Exclude Rap Videos and Lyrics
       Dkt. 563      Response

       Defendant Deonte Jamal Martin and other Defendants (Nathaniel Harris,
 Napoleon Harris, Charlie L. Green, Jerry W. Green Jr. and Corey Deonta Harris) move
 to exclude rap videos and lyrics performed by Defendant Martin and others. Defendant
 Martin asserts that one video in which Defendant Martin appears will be offered as an
 admission to commission of murder for hire, and that the videos which have been
 provided by the Government will be offered to demonstrate the association between
 Defendants.


       Defendant Martin moves to exclude part of the “Jerk G Cypher Part I” video, “Lil’
 Tang’s Rap,” which Defendant Martin believes will be offered as an admission to
 commission of a murder for hire.


       Defendant Martin moves to exclude part of the Boss 5C_Bradenton Flow
 Session, which includes “Tang’s Rap."
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        Defendant Martin moves to exclude “Get Dis Paper” which includes lyrics sung
 by Defendant Charlie Green, and which includes a simulated drug transaction.


        Defendants argue that the rap lyrics are fictional accounts, but studies show that
 people are likely to believe that the lyrics are truthful if sung in rap videos, and that
 courts recognize the prejudice of admitting rap videos. Defendants argue that the rap
 videos and lyrics are protected by the First Amendment and cannot be used as a basis
 for prosecution.


        Defendant Martin argues that the videos contain explicit lyrics that are irrelevant
 to the charges. Defendants contend that the rap videos and lyrics should be excluded
 pursuant to Fed. R. Ev. 403 and 404(b); Defendants argue that the prejudice of the
 introduction of the rap videos far outweighs their probative value. Defendants further
 assert that much in the videos is inadmissible hearsay. Defendants rely on United
 States v. Gamorv. 635 F.3d 480, 493 (11th Cir. 2011).


        In the Supplemental Motion, Defendant Jerry W. Green, Jr. directs the Court’s
 attention to specific instances where the danger for unfair prejudice is great.


        The Government opposes the Joint Motion. The Government argues that the
 Joint Motion should be denied because the contested evidence is relevant, admissible,
 and possesses a probative value that is not substantially outweighed by the danger of
 unfair prejudice. The Government alternatively proposes that the Court deny
 Defendants’ Motions without prejudice, and revisit the admissibility of the videos on a
 case-by-case basis using the proposed procedure outlined in paragraphs 37-40.


        The procedure proposed by the Government follows:




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        1.     By noon on the trial on the trial day immediately preceding
               the trial day the Government intends to introduce the video
               excerpt, the Government shall provide the excerpts and
               transcript of the Enterprise Video it seeks to introduce, and
               proffer the specific bases for the excerpt’s relevance and its
               probative value;


        2.     The following morning, the Court will conduct a brief hearing on the
               admission of the evidence;

        3.     If the Court admits the video evidence or portions thereof, the
               Government consents to a limiting jury instruction that the evidence is not
               to be considered for any improper purpose. (Fed. R. Ev. 105).


        After consideration, the Court denies the Joint Motion in Limine to Exclude Rap
 Videos and Lyrics (Dkt. 474), and the Supplemental Motion in Limine to Exclude Rap
 Videos and Lyrics (Dkt. 481) without prejudice, and will use the procedure proposed by
 the Government as to each item of video evidence that the Government seeks to
 introduce at trial. Accordingly, it is


        ORDERED that the Joint Motion in Limine to Exclude Rap Videos and Lyrics
 (Dkt. 474) and the Supplemental Motion in Limine to Exclude Rap Videos and Lyrics
 (Dkt. 481) are denied without prejudice. The Joint Motion for Hearing (Dkt. 475) is
 denied as moot. The Court will use the procedure proposed by the Government as to
 each item of video evidence that the Government seeks to introduce at trial.




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         DONE and ORDERED in Chambers in Tampa, Florida on this / r ^ flav of June,
 2016.




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